Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.1 Filed 11/10/21 Page 1 of 63




                UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF MICHIGAN
                     SOUTHERN DIVISION

DORETHA BRAZIEL, individually and as
Next Friend for minors, RONESHA
BRAZIEL-minor 1, DEANA BRAZIEL-
minor 2, DaKARRI REAMER-minor 3;
KEESHA JONES, individually and as Next
Friend for minors, KENDESHA JONES-
minor-4; DaKEAESH JONES-minor 5,               Case No.:
TIESHA CARTHAN-minor 6, TRISTAN
CARTHAN-minor 7, and KENDRALL                  Hon.
BATES-minor 8; IEASHA JONES,
individually; MICHAEL D. BRIGHAM,
individually; REBECCA BRANSCUMB,
individually; STACEY BRANSCUMB,
individually; STACEY BRANSCUMB, JR.,
individually; EMMA KINNARD,
individually; individually; on behalf of
themselves and all other similarly situated
Plaintiff Residents of the City of Benton
Harbor, Michigan.

                Plaintiffs,
v.

GOVERNOR GRETCHEN WHITMER,
Individually and in her official capacity;
STATE OF MICHIGAN - ENVIRONMENT,
GREAT LAKES & ENERGY; and
DIRECTOR LIESI CLARK, Individually and
in her official capacity; and DRINKING
WATER UNIT DIRECTOR ERIC OSWALD,
Individually and in his official capacity;
MICHIGAN DEPARTMENT OF HEALTH
AND HUMAN SERVICES and its
DIRECTORS ROBERT GORDON and
ELIZABETH HERTEL; in their individual
and official capacities; MAYOR MARCUS
 Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.2 Filed 11/10/21 Page 2 of 63




MUHAMMAD, Individually and in his
official capacity; and MICHAEL
O’MALLEY, Individually and in his official
capacity as Water Plant Operator; and CITY
MANAGERS DARWIN WATSON and
ELLIS MITCHELL, Individually and in their
official capacities; CITY OF BENTON
HARBOR, a Municipal Corporation, through
the BENTON HARBOR WATER
DEPARTMENT; and EINHORN
ENGINEERING COMPANY; and F&V
OPERATIONS AND RESOURCE
MANAGEMENT, INC.,

                      Defendants.
_______________________________________________________________/
 Alice B. Jennings (P29064)        Kevin S. Hannon
 Carl R. Edwards (P24952)          Attorney for Plaintiffs
 EDWARDS & JENNINGS, P.C.          MORGAN and MORGAN
 Attorneys for Plaintiffs          1641 North Downing Street
 3031 West Grand Blvd., Ste. 435   Denver, Colorado 80218
 Detroit, MI 48202                 (303) 861-8800, ext. 323
 (313) 961-5000                    khannon@hannonlaw.com
 ajennings@edwardjennings.com
 cedwards@edwardsjennings.com
________________________________________________________________/

    CLASS ACTION COMPLAINT FOR DECLARATORY RELIEF,
    INJUNCTIVE RELIEF, EQUITABLE RELIEF AND DAMAGES;
                    AND JURY DEMAND

           There is not another action which arises out of the same
           transaction and occurrence as stated herein, which is
           presently pending or was previously filed and dismissed,
           transferred, or otherwise disposed of after having been
           assigned to a Judge in this court.




                                      2
    Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.3 Filed 11/10/21 Page 3 of 63




        1.       This class action is brought on behalf of thousands of residents

(“Class”) of the City of Benton Harbor (“Benton Harbor”), who from at least, 2018

to the present and continuing, have experienced and will continue to experience,

serious personal injury and property damage caused by Defendants’ deliberate

misconduct, and active decision making to not enforce the US and State of Michigan

Safe Drinking Water Act by citing Defendant Benton Harbor when it did not notify

or warn the public under SDWA 40 USF §141.85; failure to warn of the extreme

lead toxicity of water running through its lead service pipes into their homes,

schools, hospitals, workplaces and public places. Lead, a neurotorin, is known to

cause severe injury and even death1

        2.       Defendants, except Defendant Einhorn Engineering Company, F&V

Operations and Resource Management, are all State of Michigan (“State

Defendants”) or Benton Harbor government employees, (City of Benton Harbor

Defendants), acting under the color of law, deliberately deprived Plaintiffs and the

Plaintiff Class, of the rights and guarantees secured by the 14 th Amendment to the

United States Constitution, in that they deprived Plaintiffs of life, liberty and


1
  The US EPA recently noted when issuing its Emergency Administrative Order under SDWA section 1431 in
Clarksburg, West Virginia that excessive led in drinking water poses an imminent and substantial endangerment. The
agency pointed out,

        Health effects associated with exposure to inorganic lead and compounds include, but are not limited to:
        neurotoxicity, developmental delays, hypertension, impaired hearing acuity, impaired hemoglobin synthesis,
        and male reproductive impairment. Importantly, many of lead’s health effects may occur without overt signs
        of toxicity. Lead has particularly significant effects in children, well before the usual term of chronic exposure
        can take place. (https://iris.epa.gov/static/pdfs/0277_summary.pdf - IRIS Chemical Assessment Summary
        for Lead).64

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    Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.4 Filed 11/10/21 Page 4 of 63




property, without due process of law because they had knowledge that there was lead

in the water, beginning in 2018, that exceeded the action level under the United

States Environmental Protection Agency’s (EPA) Lead and Copper rule under the

Safe Drinking Water Act, yet failed to notify and warn Plaintiffs that the water was

and is poison and unsafe to drink, cook, wash, or bathe. The Defendants’ actions

and omissions are documented2. Since at least 2018, the state, its agencies, Directors,

the City of Benton Harbor, its Mayor, and City Managers, and Water Plant Manager

treated the evidence that the water running through lead service lines in the City of

Benton Harbor was poisoned with high levels of lead with deliberate indifference.

Plaintiffs, many of whom are children, and the Plaintiff Class have been, and

continue to be exposed, to the extreme toxicity of lead, causing an “imminent and

substantial endangerment to their health. Benton Harbor is experiencing a public

health emergency, an environmental justice community with over 85% African

American and 5% Hispanic residents3, he was not given the public notice and

education required, under state and federal law. The conduct of the Defendant

shocked the consciousness.




2
  Petition for Emergency Action Under the Safe Drinking Water Act, 42 U.S.C. §300(i) and 42 U.S.C. §300(j)(7)(b)
to Abate the Imminent and Substantial Endangerment to Benton Harbor Residents from Lead Contamination in
Drinking Water (September 9, 2021).
3
  United States Census Bureau, QuickFacts: Benton Harbor, Michigan,
https://www.census.gov/quickfacts/fact/table/bentonharborcitymichigan/PST045219.


                                                       4
 Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.5 Filed 11/10/21 Page 5 of 63




      3.       The lead exceedances in the waterlines in Benton Harbor, known by all

Defendants, has created property damage to the Plaintiffs Representatives’ and

putative Class Members’ homes, and such damage and harm continues to this

present day.

      4.       Not until October 14, 2021, did the Defendant Governor Whitmer

announce to the residents of the City of Benton Harbor, representative Plaintiffs, and

those similarly situated, that the water was unsafe to drink, cook, wash, or bathe,

and/or brush one’s teeth with. The medical implications of using water with lead, for

at least three years and continuing, for these have not been evaluated by any of the

Defendants with empirical tests, including blood lead testing or water testing of

homes. During the more than three (3) year period, Defendants knew that the high

lead levels exceeded the state and national lead and copper rule, and both kept this

toxic lead emergency from Benton Harbor residents, and falsely assured the

residents that the water was safe for all uses.

      5.       The substantial personal and property injuries experienced by Plaintiffs

and the Class, and the ensuing Benton Harbor citywide disaster, reaches

constitutional proportions because State defendants, acting both under the color of

law, in its customary decision making practice, decided to not require Benton Harbor

to comply with SDWA 40 USF §141.85, on Public Notice and Education, which by

not warning Benton Harbor water users, created additional risk and prolonged the


                                           5
    Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.6 Filed 11/10/21 Page 6 of 63




risk of serious and life threatening dangers to Plaintiffs and the Class, most

specifically, children, prenatal and up to age six (6)4. The Plaintiffs, in this case,

include a four (4) year old and a four (4) month old baby.

        6.       The state and local government officials, Defendants herein, who made

the decision to continue to extend the deadline for various violations to be abated or

repaired, yet did not advise Benton Harbor residents, created further use of toxic

water, thereby violating the constitutional rights of Plaintiffs and Plaintiff Class

members and caused their bodily integrity by acting to stop using the lead laced

water through ingestion in drinking, cooling and oral hygiene.

        7.       Limited blood lead testing has been performed on the residents of the

City of Benton Harbor, not even the children, who are most affected by the long term

cognitive and developmental harm.                     Defendant Governor Whitmer, under the

Michigan Constitution, can exercise prospective relief.

        8.       Defendants’ acts and omissions shocks the conscience and shows

deliberate indifference to the Plaintiff Class Representatives’ and Class Members’

constitutional rights, resulting in harm to their health, both physically and

emotionally.




4
 Centers for Disease Control and Prevention, Blood Lead Levels in Children,
https://www.edc.gov/noeh/lead/prevention/blood-lead-levels.htm.


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 Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.7 Filed 11/10/21 Page 7 of 63




      9.     On October 20, 2021, a City of Benton Harbor watermain, serving most

of the residents of Benton Harbor, Michigan, malfunctioned, leaving residents

unable to bathe, flush toilets, or wash clothes. This crisis, on top of a crisis, lasted

for several days. Many residents had to move out of their homes.

      10.    On October 20, 2021, at a Michigan State Legislative hearing, Director

of EGLE, Defendant Leisa Clark, admitted that the Benton Harbor drinking water is

not safe to drink. In response to the question posed by a State Representative, “Is it

safe to drink the water in Benton Harbor right now, or not?” Defendant Clark

responded, “No, it’s not. People should be drinking bottled water.”

                          JURISDICTION AND VENUE

      11.    This is a civil action brought pursuant to 42 U.S.C. §1983, seeking

injunctive and declaratory relief, together with monetary damages against

Defendants for violation of the Due Process clause Fourteenth Amendment of the

United States Constitution.

      12.    This Court has jurisdiction pursuant to 28 U.S.C. §1331, which

authorizes federal courts to decide cases concerning federal questions; 28 U.S.C.

§1343(a)(3) and (4) and 28 U.S.C. §2201, the Declaratory Judgment Act. This Court

has personal jurisdiction over Defendants named herein as public officials of the

State of Michigan sued in their official and individual capacities and public officials,

employees of the City of Benton Harbor sued in their official and individual


                                           7
 Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.8 Filed 11/10/21 Page 8 of 63




capacities, and the city of Benton Harbor, for violations of Plaintiffs’ constitutional

rights. Similarly, the Court has jurisdiction over the Governor of the State of

Michigan, in her official capacity, for prospective relief.

      13.    This Court has jurisdiction under the Safe Drinking Water Act (SDWA)

42 U.S.C. §300(i) and 42, as it is a federal statute providing injunctive and equitable

relief to Plaintiff Class Representatives and Class Members.

      14.    Venue is proper in this Court as Defendants conduct their business in

the Western District of Michigan.

                                         PARTIES

A.    Plaintiff Class Representatives

      15.    Plaintiff Class Representative, Doretha Braziel, has lived in the City of

Benton Harbor, Michigan, her entire life. Plaintiff Braziel has lived in her present

rented home since February 2021; prior to that time Plaintiff lived for over eight

years in a Benton Harbor home with her mother. Plaintiff lives in her home with

minor children, age 15, (minor 1); 17, (minor 2); and grandson, age four (4) months,

(minor 3).

      16.    Plaintiff and her minor children, and minor grandson, have utilized the

tap water until late October 2021, when the publicity exposed that the water was not

safe for all purposes. At no time prior to late October 2021was Plaintiff Braziel ever

notified by any of the Defendants that the water she used was unsafe to drink or


                                           8
 Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.9 Filed 11/10/21 Page 9 of 63




utilize in food preparation and oral hygiene. Plaintiff’s minor grandson, born on June

15, 2021, was fed his formula with tap water, right up until Governor Whitmer

declared a state of emergency, and the “news got out”.

       17.    Plaintiff, in 2021, had her water tested, which showed a lead level of

886 ppb.

       18.    Plaintiff Class Representative Braziel, and her minor children and

grandson, have sustained physical and emotional injuries related to Defendants’

actions, and customary decision making which resulted in no notice to Plaintiffs in

2018, and omissions, leaving them through present, and continuing, vulnerable to

great harm.

       19.    Plaintiff Representative must continue to pay for water she cannot

utilize.

       20.    Plaintiff Representative Braziel, and her minor children and grandson,

are all African American.

       21.    Plaintiff Class Representatives, Keesha Jones has lived in the City of

Benton Harbor, Michigan, her entire life. Plaintiff rented her present home for over

three (3) years and utilizes Benton Harbor, Michigan’s water system for tap water

and sanitation services. Plaintiff Jones lives with four (4) minor children, (minors 4,

5, 6 and 7); and one minor grandchild, ages four (4) to eighteen (17).




                                          9
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.10 Filed 11/10/21 Page 10 of 63




      22.    Adult children have also lived in the home since 2016. Both Plaintiff

and her minor children have sustained physical and emotional injuries and damages

resulting from the Defendants’ conduct, which are known to be caused by lead

consumption. At least three (3) of Plaintiff Jones’ children have Individual

Education Plans because of learning difficulties and speech impairments.

      23.    Plaintiff Jones states none of the Defendants advised her, prior to

October 2021, that she, or her minor children, should not drink, cook, or brush their

teeth with the tap water. Plaintiff and her children ingested the Defendant Benton

Harbor’s water until the Governor announced on October 14, 2021, that the water

crisis required bottled water for ingestion due to safety reasons.

      24.    Plaintiff Jones and all of her children living with her are African

American.

      25.    Plaintiff Representative Jones must continue to pay for water she

cannot utilize.

      26.    Plaintiff Class Representative Emma Kinnard is a homeowner living at

the same address in Benton Harbor, Michigan, since 1976. Plaintiff Kinnard, has not

fully utilized her water, for at least two years, because of the smell and cloudiness.

      27.    Plaintiff Kinnard has medical conditions, requiring ongoing medication

and treatments. She states some of her conditions are related to using the water for

bathing. Though Plaintiff Kinnard has not ingested the water for a couple of years,


                                          10
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.11 Filed 11/10/21 Page 11 of 63




she has made conditions known to be connected to the lead. Emotionally, Plaintiff

Kinnard states she is outraged and said that her community, which she loves, is being

hurt by the water crisis in her community. As a former educator and a Benton Harbor

entrepreneur, Plaintiff Kinnard is most concerned for the children, who she states

will suffer in their loss of cognition, intellect and developmentally.

      28.    Plaintiff Kinnard must continue to pay City Defendants for water

services she cannot utilize.

      29.    Plaintiff Representative Kinnard is an African American.

      30.    Plaintiff Representative Michael Duane Brigham is a sixty-one (61)

year old African American male. He has lived at his current address in Benton

Harbor, Michigan for eleven years.

      31.    Up until October 2021, he utilized the water coming from his tap for all

purposes.

      32.    Plaintiff Class Representative Brigham has medical conditions which

are known to be connected with lead consumption in adults.

      33.    Plaintiff Representative Brigham has paid for water, which has caused

him harm, and for which he cannot use.

      34.    On October 28, 2021, Plaintiff was administered a blood lead test and

found to have lead in his blood, even though he had not ingested the water for

approximately three weeks.


                                          11
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.12 Filed 11/10/21 Page 12 of 63




         35.   Plaintiff Class Representatives Rebecca Branscumb and Stacey

Branscumb, age forty-seven (47), and their son, Stacey Branscumb, Jr., age eighteen

(18), have lived in their home for over twelve (12) years, in Benton Harbor,

Michigan.

         36.   Test results on the Branscumb property show a lead level of 496 pp

billion in 2021.

         37.   Plaintiff Class Representatives have medical conditions which are

related to the ingestion of lead.

         38.   Not until October 2021, did Plaintiffs Branscumb stop using their top

water.

         39.   Plaintiffs Branscumb’s family pet, a Great Dane, died after ingesting

water from the water supply in their homes when his stomach bloated and flipped.

         40.   Plaintiff Class Representatives Stacey Branscumb and Rebecca

Branscumb continue to pay for water to Defendant Benton Harbor water system,

which they cannot utilize for their everyday needs.

         41.   Plaintiff Class Representatives are citizens of the United States and at

all relevant times were residents of Benton Harbor, individuals, homeowners,

renters, parents and minors who, since at least 2018, were and continue to be,

exposed to highly dangerous lead poisoning conditions caused by, and with

deliberate indifference, prolonged by Defendants’ action to engage in a coverup and


                                           12
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.13 Filed 11/10/21 Page 13 of 63




not warn the community that its drinking water supplied by Defendant City of

Benton Harbor’s public water system had extreme lead toxicity. Defendants, all of

them, have not remediated these dangers or harms, notwithstanding their knowledge,

since 2018, that the amount of lead in the water was increasing with each testing

period from 2018 to 2021. Plaintiff Class Representatives bring this action on behalf

of themselves and a Class of individuals who were injured in their persons, suffering

invasion of their bodily integrity, or their property, at least from 2018, because of

their exposure to the toxic water containing lead, running into their homes, schools

and public places, from the City’s lead lined pipes.

B.     Defendants

       42.    All individual Defendants are sued in their individual and/or official

capacities as indicated below.

       43.    Defendant Gretchen Whitmer is the Governor of the State of Michigan

and is invested with executive power pursuant to Art. V, Section 1, of the Michigan

Constitution. The Governor, is responsible for the management of state government

for the health and welfare of its citizens and residents and is sued by plaintiffs and

the Class in her official capacity, exclusively for prospective equitable relief to

correct the harm caused and prolonged by the state government and to prevent future

injury as the Benton Harbor Water System continues to deliver led poisoned water

to its residents.


                                         13
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.14 Filed 11/10/21 Page 14 of 63




        44.   Defendant State of Michigan operates its Department of Environmental

Great Lakes Energy (“EGLE”), which is responsible for overall management of the

state department responsible for the environmental safety and health of Michigan

citizens and residents. The State is sued because, acting through EGLE, it made the

decisions that deliberately created, increased, and prolonged the hazards, threats and

dangers that arose by allowing Benton Harbor residents to continue the ingestion

and use of water containing lead in excess of the state and national Lead and Copper

rule.

        45.   Defendant Liesi Clark currently is, and at all relevant times was,

Director of EGLE, and is sued by Plaintiffs and Class Plaintiffs in her individual

and official capacity, because she was aware of and participated in, the decisions and

actions that deliberately created, increased and prolonged the hazards, threats and

dangers that arose by failing to notify and/or warn residents that Benton Harbor’s

water was highly toxic and allowed experimentation with ineffective anti-corrosive

chemical methods that did not work to reduce the lead, but instead, made it worse.

At no time was a corrosion study performed as required by the SDWA.

        46.   Defendant Eric Oswald, individually and in his official capacity, at all

times pertinent was the Director and Senior Management Executive, both during the

tenure of Defendant Governor Snyder and Defendant Governor Whitmer, through

present.


                                          14
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.15 Filed 11/10/21 Page 15 of 63




      47.    During Director Oswald’s tenure, based on custom and practice, he

made decisions and actions, which have caused increased harm and damages to the

residents of Benton Harbor, including but not limited to, multiple violations of the

Safe Drinking Water Act (“SDWA”). At no time did he require that City Defendants

perform the requirements triggered by its lead exceedances.

      48.    Defendants Robert Gordon and Elizabeth Hertel, are both Directors of

Michigan Department of Health and Human Services, for the relevant time period

of Defendant Gordon through January 2021, and Director Hertel, from January 2021

until present and continuing. Neither Director Gordon, nor Director Hertel, have

engaged the Benton Harbor community with a notice of the violations and health

solutions, including alternative water source lead testing, water testing, water source

and replacement of Defendant Benton Harbor’s lead lines, to the residents of the

City of Benton Harbor for the more than three (3) years that the Defendants, in their

official capacity, knew that high levels of lead were found in Benton Harbor’s

service lines and resulting in substantial physical harm to the residents.

      49.    The City of Benton Harbor is a municipal corporation, so authorized by

the laws of the State of Michigan, which operates Department of Public Works and

the Public Water System and provides water to its residents and property owners as

part of its responsibilities and services. The City of Benton Harbor is liable because

the municipal corporation itself, through its policymakers, deliberately created, and


                                          15
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.16 Filed 11/10/21 Page 16 of 63




with deliberate indifference, increased and prolonged the hazards, threats and

dangers that arose by its failure to notify and/or warn the residents of Benton Harbor

that its water was poisoned with lead and should not be used.

      50.    Marcus Muhammad was, at all relevant times from 2018 to present, and

continuing, Mayor of Benton Harbor. Mayor Muhammad is individually liable

because, as Mayor, he approved of, and thereby participated in, the decisions that

deliberately created, increased and prolonged the hazards, threats and dangers that

arose by failing to notify and/or warn the residents of Benton Harbor that the water

in its lead lines continued to have high levels of lead that exceeded the state and

national Lead and Copper rule. Though he was aware of the high lead levels he did

not create the notice and public education required by the state and federal law.

      51.    Defendants Benton Harbor; City Managers Darwin Watson and Ellis

Mitchell; have both been charged with the other City Defendants to act to abate the

lead in the Benton Harbor Public Water System, but have failed to do so, causing

harm to the Plaintiff Class Representatives and Class Members, in violation of their

constitutional rights and in violation of the Safe Drinking Water Act.

      52.    Defendant Michael O’Malley, in his official capacity and individual

capacity, as Water Plant Director, City of Benton Harbor Public Water System was

charged with ensuring that the water services provided to Benton Harbor customers

did not jeopardize their health and safety. Defendant O’Malley took leave in 2020,


                                         16
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.17 Filed 11/10/21 Page 17 of 63




and his license was revoked in 2021 by the State. At no time did Defendant

O’Malley comply with the requirements of the SDWA and its specific notice

provisions CRF 40 of §141.85. Defendant O’Malley, among other failures, did not,

from 2018 to 2020 perform a “corrosion study” as required by the SDWA.

      53.    Defendant Einhorn Engineering Company, as an agent contractor for

the City of Benton Harbor, was negligent in its acts and omissions related to its

selection of anti-corrosive chemicals, which did not provide a solution to Defendant

Benton Harbor’s lead in its water lines. The use of a series of different anti-corrosive

chemicals added more toxicity to the residents’ water, as lead, has increased since

the anti-corrosive chemicals were tried.

      54.    Defendant F&V Operations and Resource Management, Inc., as agent

contractor for Defendant City of Benton Harbor, were negligent in its acts and

omissions related to its management of the Benton Harbor Public Water System,

since 2020. Through its employees F&V has failed to act to prevent the lead in

Defendant Benton Harbor’s lead service lines; continuing to present, nor did F&V,

as the Manager of the system, comply with the requirements of the Safe Drinking

Water Act, as outlined, including but not limited to CRF 40 151.35 Public Notice.

                            STATEMENT OF FACTS

      55.    This litigation arises out of the Benton Harbor water lead crisis, in

which nearly ten thousand (10,000) residents of Benton Harbor, many children; at


                                           17
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.18 Filed 11/10/21 Page 18 of 63




least since 2018, have been exposed through the ingestion and other uses of water

with high levels of lead that exceed the state and national Lead and Copper rule of

the SDWA.

          56.     In its custom and policy of deciding when to cite a public water system

for violations, it decided not to cite the City Defendants under the SDWA 40 CFR

§141 for many of its violations.

          57.     On September 9, 2021, a coalition of petitioners urgently submitted an

Emergency Petition to the United States Environmental Protection Agency (EPA):

                                         Submitted to
                        United States Environmental Protection Agency

          Petition for Emergency Action under the Safe Drinking Water Act, 42
           U.S.C. §300i and 42 U.S.C. §300j-l(b), to Abate the Imminent and
            Substantial Endangerment to Benton Harbor, Michigan Residents
                       from Lead Contamination in Drinking Water

          Submitted on Behalf of Petitioners Benton Harbor Community Water
             Council, Great Lakes Environmental Law Center, NRDC, Flint
           Rising, People’s Water Board Coalition, Michigan Welfare Rights
           Coalition, Water You Fighting For, Safe Water Engineering, LLC,
            Highland Park Human Rights Coalition, Michigan Environmental
           Justice Coalition, Sierra Club Michigan Chapter, Dr. Mona Hanna-
          Attisha, Clean Water Action, Ecology Center, Freshwater Future, East
          Michigan Environmental Action Council, Detroit People’s Platform,
           Campaign for Lead Free Water, For Love of Water, Environmental
                           Transformation Movement of Flint5.




5
    https://www.epa.gov/system/files/documents/2021-11/mi0000600_bentonharbor_insp_20211027.pdf

                                                    18
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.19 Filed 11/10/21 Page 19 of 63




         58.     The Petition specifically stated the rationale for the need for emergency

action. Gretchen Whitmer was elected Governor of the State of Michigan in 2018

and assumed office in January 2019. At no time did Defendant Governor Whitmer,

through her office or State Defendants under her leadership from January 2019 to

present, perform a complete and comprehensive inspection, review and/or

evaluation of the facility. At least since 2019 to present, testing performed by

Defendant EGLE, the predecessor of DEQ, the water samples in Defendant Benton

Harbor show violations of the Lead and Copper Rule with exceedances as 889. Ibid.

(Ibid., Petition for Emergency Action Under the Safe Drinking Water Act, 42 U.S.C.

§300i and 42 U.S.C. § 300j-l(b) to Abate the Imminent and Substantial

Endangerment to Benton Harbor, Michigan Residents from Lead contaminated

Drinking Water.)

         The Emergency Petition stated:

    Table 1 – Reported Results of Lead Tap Samples in Benton Harbor by
    Sampling Period6
    Sampling Period            90th           Number of Sites     Range of
                               Percentile (in Above Action        Sample Results
                               parts per      Level               (in parts per
                               billion)                           billion)
    6/1/2018 – 9/30/2018       22             8                   0 – 60

    1/1/2019 – 6/30/2019              27                     12                         0 – 59

    7/1/2019 – 12/31/2019             32                     10                         0 – 72

6
 Defendant City of Benton Harbor website, in its “Consumer Confidence Report” show in 2012, a 5 ppb, and by
2015, a 12 ppb lead increase.

                                                      19
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.20 Filed 11/10/21 Page 20 of 63




 1/1/2020 – 6/30/2020          26                9                   0 – 440

 7/1/2020 – 12/31/2020         24                11                  0 – 240

 1/1/2021 – 6/30/2021          24                11                  0 - 889
(Ibid., p. 11.)

      59.    Defendants EGLE and Benton Harbor, from 2019 to present, have

failed, through the use of various anti-corrosive chemical devices and the hiring of

agent contractors Defendants Einhorn, Inc., and BF&V Operations and Resource

Management, to administer a successful, effective remedy to remove the large

amounts of lead for the water supplied to residents. Presently no study of effective

corrosion plans has been submitted to EGLE.

      60.    The lead in Defendant Benton Harbor’s drinking water has increased,

in the samples taken from June 1, 2018 to June 3, 2021; with the range of “sample

results increasing from 0-60 to 0-889; the latest. (Ibid., p. 11.)

      61.    At no time have any of the Defendants, until Defendant Governor

Whitmer’s announcement of a State of Emergency, through the issuance of an

Emergency Declaration on October 14, 2021, give any public notice of the crisis,

though as early as September 2018, Defendants knew the City of Benton Harbor had

exceeded the 15 ppb threshold for immediate action; it was in violation of SDWA

exceedances.




                                           20
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.21 Filed 11/10/21 Page 21 of 63




        62.     As a result of the citizen petition and legal submission by their

attorneys, the US Environmental Protection Agency (EPA), on October 27, 2021,

issued an inspection report to Defendant City Manager Ellis Mitchell, and copied to

EGLE employees, Ernest Sarkipalo and Michael Bolf7:

        On September 20, 2021 through the 27th United States Environmental
        Protection Agency (EPA) conducted a compliance evaluation
        inspection of the Benton Harbor community water system (PWS ID
        MI0000600) Public Water System located in (Berrien County,
        Michigan). The purpose of the inspection was to make observations
        about the site conditions, operation, and monitoring of the System to
        evaluate compliance with the Safe Drinking Water Act (SDWA) and
        regulatory requirements. The inspection was conducted in coordination
        with the Michigan Department of Environmental, Great Lakes, and
        Energy (EGLE) and a copy is enclosed with this letter. (Ibid., p. 1.)

        63.     The extensive report, covering an inspection period this year September

20-27, 2021, found numerous violations of the Benton Harbor Public Water System,

including but not limited to the following deficiencies; many of which such

deficiencies had existed since at least 2018, and several prior to that time. See

Compliance History. Ibid., pp. 4-6.

        64.     The EPA Report, in its Summary of Previous Sanitary Survey, shows

numerous and comprehensive failures at Defendant Benton Harbor’s Public Water

System, none of which had been inspected or evaluated for violation by the State

Defendants:


7
 US EPA, October 27, 2021 Letter and Report “Region 5 Enforcement and Compliance Assurance Division SDWA
Drinking Water Inspection Report, City of Benton Harbor, Berrien County, Michigan”.

                                                   21
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.22 Filed 11/10/21 Page 22 of 63




Summary of       2021 Inspection                                                                   Corrected
Previous
Sanitary
Survey 2018
Sanitary
Survey
Finding
Source           Deficiency: need to inspect intake and   The intake was inspected July 2021.      No
                 restart mussel control                   Repairs to the intake structure were
                                                          made, but the mussel control system
                                                          was not functional at the time of the
                                                          inspection.
Treatment        Significant Deficiency: Coagulant feed   Coagulate feed location was              Yes
                 needs ample mixing energy to be          relocated to a mixing chamber at the
                 effective                                plate settler basins.
Treatment        Deficiency: Finished water meters not    Finish water meter is installed but is   No
                 functioning, can’t determine CT.         not being maintained
                                                          Finish water meter is not being used
                                                          for compliance monitoring
Distribution     Significant Deficiency: Formalize        Not Evaluated                            Unknown
System           program to turn valves & flush
                 hydrants.
Distribution     Significant Deficiency: Cross            A new cross connection program           No
System           Connection Program needs complete        was developed in 2020, but at the
                 overhaul                                 time of the inspection no actions
                                                          had been taken to implement the
                                                          2020 plan.
Distribution     Significant Deficiency: Many areas of    Not Evaluated                            Unknown
System           low flow/no flow
Distribution     Deficiency: Aging water main replace is Not Evaluated                             Unknown
System           lacking
Finished Water   Deficiency: Reinspection of the elevated At the time of the inspection, the       Partial
Storage          storage tank is overdue                  tank was nearing completion of a
                                                          substantial rehabilitation. The
                                                          underground storage at the water
                                                          treatment plant had several missing
                                                          screens on vent pipes, and could not
                                                          be accessed to evaluate sanitary
                                                          conditions.
Monitoring       Significant Deficiency: Fix continuous   The continuous chlorine analyzer         No
and Reporting    chlorine analyzer                        was offline at the time of the
                                                          inspection.
Monitoring       Deficiency: MOR inaccurate               The flow measurement method was          No
and Reporting    information on treated water             inaccurate and based on a
                                                          combination of uncalibrated depth
                                                          sensors.



                                                22
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.23 Filed 11/10/21 Page 23 of 63




System          Significant Deficiency: Must commit to     Benton Harbor is in the process of      Ongoing
Management      timeline for compliance                    developing plans under an EGLE
& Operations                                               administrative order. Aspects of that
                                                           order were addressed during the
                                                           inspection
System          Significant Deficiency: Financial &        System was unable to provide            Ongoing
Management      Managerial Capacity is not met             financial information at the time of
& Operations                                               the inspection.
System          Significant Deficiency: Hydraulic          Not Evaluated                           Unknown
Management      model calibration indicated areas of low
& Operations    flow
Operator        Recommendation: Distribution &             Benton Harbor must determine the        Ongoing
Compliance      Treatment need more certified operators    appropriate staffing level as a
                                                           requirement of the EGLE
                                                           administrative order. This item
                                                           cannot be addressed until the
                                                           staffing analysis is completed.
Financial       Significant Deficiency: Collection of      No records could be provided at the     Unknown
                rates is inefficient and ineffective       time of the inspection to evaluate
                                                           this item. Bill collection is handled
                                                           by a third-party contractor.
Financial       Significant Deficiency: Rates              No records could be provided at the     Unknown
                insufficient to cover capital              time of the inspection to evaluate
                improvements                               this item. Benton Harbor was
                                                           unable to provide a budget for water
                                                           treatment activities.
Other           Significant Deficiency: SCADA system       Many continuous monitoring                 No
                needs additional functionality             components and system
                                                           automation functions were not
                                                           working at the time of the
                                                           inspection. The SCADA
                                                           system was collecting
                                                           inaccurate data. Alarm
                                                           functions were unknown.



        65.    The EPA inspection, in October 2021, under “Section 4, Areas of

concerns and Observations” showed numerous violations under 40 CFR 141 Lead

and Copper Rule of Safe Drinking Water Act:

                     1)      Records Maintenance;

                     2)      Requirements when making a significant change in
                             disinfection practice;
                                                23
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.24 Filed 11/10/21 Page 24 of 63




                 3)    Disinfection

           4.    Emergency Response Plan, “During the inspection the
                 Emergency Response Plan was not available since it had not yet
                 been completed.”

           5.    Revised Total Coliform Rule – General monitoring
                 requirements for all public water systems. Plan is outdated (40
                 C.F.R. 141.853)

           6.    Monitoring and Analytical Requirements (40 C.F.R. 141
                 Subpart C)

           7.    Enhanced Filtration and Disinfection – Systems Serving Fewer
                 Than 10,000 People (40 C.F.R. 141 Subpart T)

           8.    Treatment

           9.    Potential Deficiencies

           10.   A number of potential cross connections were identified
                 throughout the treatment system

           11.   Monitoring Equipment Issues
                 (Ibid., pp. 21-23.)

     66.   Significantly, the EPA, under “Section 4.2 Additional Observations”

found:

           1.    The room above the raw water wet well had severe paint
                 flaking on the ceiling.

           2.    The fluoride saturator was located outside of the containment
                 for the day tanks.

           3.    A lack of automation has led to overflowing chemical tanks and
                 operating chemical injections to the treated water when the
                 treatment system was not in operation.
                                      24
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.25 Filed 11/10/21 Page 25 of 63




                    4.    At the time of the inspection, the system was unable to identify
                          which alarms had call out capability for the SCADA system.

                    5.    Operation of the treatment plant is being conducted with both
                          contract staff and employees of the City of Benton Harbor. It is
                          unclear how the treatment plant operations staff is organized or
                          supervised. A copy of the operations contact was not made
                          available.

                    6.    There are no formal written agreements for the supply of
                          emergency water through the system interconnects. The status
                          of the valves to control those interconnects is also unknown.

                    7.    Benton Harbor was unable to provide a copy of the budget for
                          the water treatment plant operations.

                    8.    Benton Harbor did not have records of customer complaints.
                          (Ibid., pp. 23-24.)

        67.         On November 2, 2021, the EPA, Region 5 issued a Unilateral

Administrative Order, Proceeding under Section 1414(g) of the Safe Drinking Water

Act, 42 U.S.C. §300g-3(g), In the Matter of: City of Benton Harbor Public Water

Supply, PWS ID MI0000600, Benton Harbor, Michigan, effectively immediately8.

              II.        FINDINGS OF FACT AND CONCLUSIONS OF LAW

                    4.    The City (“Respondent”) is the owner and/or operator of
                          the System located at 200 East Wall Street, Benton
                          Harbor, Michigan 49022.

                    5.    Respondent is a “person,” as defined by Section 1401(12)
                          of the SDWA, 42 U.S.C. §300f(12), and 40 C.F.R.
                          §141.2.

8
 US EPA Unilateral Administrative Order – Proceeding Under Section 1414(g) of the Safe Drinking Water Act, 42
U.S.C. §300g-3(g).

                                                     25
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.26 Filed 11/10/21 Page 26 of 63




           6.    The System is a “public water system” (“PWS”) within the
                  meaning of Section 1401(4) of the SDWA, 42 U.S.C.
                 §141.2 that provides water from a surface water source.

           7.    The system regularly serves at least twenty-five (25) year-
                 round       residents and is therefore a “community
                 water system”     (“CWS”) within the meaning of
                 Section 1401(15) of the SDWA, 42 U.S.C. §300f(15),
                 and 40 C.F.R. §141.3.

           8.    The System serves approximately 9,970 persons and has
                 3,335 active service connections.

           9.    The System has an intake in Lake Michigan as its source
                 of drinking water.

           10.   Respondent’s ownership and/or operation of the System
                 makes it a “supplier of water” within the meaning of
                 Section 1401(5) of the SDWA, 42 U.S.C. §300f(5), and
                 40 C.F.R. §141.2, and subject to the requirements of Part
                 B of the SDWA, 42 U.S.C. §300g, and the NPDWRs at 40
                 C.F.R. Part 141.

           11.   Pursuant to SDWA Section 1413, 42 U.S.C. §300g-2,
                 EGLE has primary responsibility for the implementation
                 and enforcement of the public water supply program in
                 Michigan.

           12.   Between September 20-27, 2021, EPA and EGLE
                 conducted a joint compliance inspection of the System
                 pursuant to Section 1445(b) of the SDWA, 42 U.S.C.
                 §300j-4(b), and identified numerous violations of the
                 NPDWRs identified in Paragraph 15-104 below, including
                 NPDWR violations related to the     System’s technical,
                 managerial, and financial capacity.
                 (Ibid., pp. 3-21.)




                                      26
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.27 Filed 11/10/21 Page 27 of 63




             13.   On October 29, 2021, EGLE referred the identified
                   violations to EPA to require the System to comply with the
                   associated applicable requirements under SDWA.

             14.   On October 26, 2021, EPA met with EGLE to confer on
                   this Order in conformance with Section 1414(g)(2) of the
                   SDWA, 42 U.S.C. §303g-3(g)(2).

      68.    The EPA report shows the lead action level exceedances of the testing

of water samples in Benton Harbor preceded Defendant Governor Whitmer’s

administration for some of the homes tested in Benton Harbor. In 2014, the lead

level was 5 ppb, but by 2015 the lead level was 12, yet no effective action was taken,

or warning to the citizens was made, to not ingest the water where the medical

literature was clear, no level of lead is safe for human consumption. The November

2, 2021 EPA Unilateral Order shows the deliberate indifference to the residents of

the City of Benton Harbor, going back at least to January 2016; under an “Action

Level Exceedance” (ALE) trigger of 15 ppb:

                        Lead and Copper Public Education

             15.   The System is classified as a medium-sized PWS (3,301
                   to 50,000 people served) under the Lead and Copper Rule
                   (“LCR”), as defined at 40 C.F.R. §§141.81(a)(2), and as
                   such, was required to conduct sampling, beginning with
                   two (2) consecutive six-month monitoring periods during
                   July 1 to December 31, 1992 and January 1 to June 30,
                   1993 to determine compliance with the LCR at 40 C.F.R.
                   §141.86(d).

             16.   After meeting lead and copper action levels during the two
                   (2) consecutive six-month monitoring periods, a medium-
                   sized water system may reduce monitoring frequency to
                                         27
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.28 Filed 11/10/21 Page 28 of 63




                 once per year.        40    C.F.R.    §141.86(d)(1)(ii)(B);
                 141.86(d)(4).

           17.   After three (3) consecutive years of monitoring, a
                 medium-sized water system in compliance may further
                 reduce the frequency of monitoring from annually to once
                 every three (3) years. 40 C.F.R. §§141.81(d)(4)(iii).

           18.   An LCR compliance sample is a sample that has been
                 collected and analyzed for lead and copper according to
                 the requirements of the LCR at 40 C.F.R. §141.86. The
                 lead action level is exceeded if the concentration of lead in
                 more than ten (10) percent of tap water samples collected
                 during any monitoring period conducted in accordance
                 with 40 C.F.R. §141.86 is greater than 0.015 mg/L (i.e., if
                 the “90th percentile” lead level is greater than 0.015 mg/L
                 or 15 parts per billion (“ppb”)).

           19.   Between January 2016 and December 2018, the 90th
                 percentile of the samples collected during this period
                 was 22 ppb, which is a lead action level exceedance
                 (“ALE”) pursuant to the LCR at 40 C.F.R. §141.80(c).

           20.   Between January 2019 and June 2019, the 90th percentile
                 of the samples collected during this sampling period was
                 27 ppb, which is a lead ALE pursuant to the LCR at 40
                 C.F.R. §141.80(c).

           21.   Between July 2019 and December 2019, the 90th percentile
                 of the samples collected during this sampling period was
                 32 ppb, which is a lead ALE pursuant to the LCR at 40
                 C.F.R. §141.80(c).

           22.   Between January 2020 and June 2020, the 90th percentile
                 of the samples collected during this sampling period was
                 23 ppb, which is a lead ALE pursuant to the LCR at 40
                 C.F.R. §141.80(c).

           23.   Between July 2020 and December 2020, the 90th percentile
                 of the samples collected during this sampling period was
                                       28
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.29 Filed 11/10/21 Page 29 of 63




                           24 ppb, which is a lead ALE pursuant to the LCR at 40
                           C.F.R. §141.80(c).

                  24.      Between January 2021 and June 2021, the 90th percentile
                           of the samples collected during this sampling period was
                           24 ppb9, which is a lead ALE pursuant to the LCR at 40
                           C.F.R. §141.80(c).

         69.      The public education requirements, including containing all required

elements under SWDA, which were not met by any of the Defendants at anytime

from January 2018 to present, under 40 CFR §141.85. The EPA’s Order states the

following failures of public education:

                  25.      A PWS that exceeds the lead action level based on tap
                           water samples collected in accordance with 40 C.F.R.
                           §141.86 must comply with certain public education
                           requirements at 40 C.F.R. §141.85.

                  26.      40 C.F.R. §141.85(a) regulates the content of written
                           public education materials (e.g., brochures and
                           pamphlets), while 40 C.F.R. §141.85(b) regulates the
                           delivery of such public education materials.

                  27.      Pursuant to 40 C.F.R. §141.85(b)(2)(ii)(A), a CWS that
                           exceeds the lead action level must contact the local health
                           department and deliver education materials that meet the
                           content requirements of 40 C.F.R. §141.85(a) to local
                           public health agencies even if they are not located within
                           the water system’s service area, along with an
                           informational notice that encourages distribution to all the
                           organization’s potentially affected customers or CWS’s
                           users.



9
 This test must be scrutinized and is suspect. The initial result using the standard 63 samples was 33 ppb, but
additional water samples were taken in homes to bring the ppb number down to 24. Ibid., pp. 4-5.

                                                         29
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.30 Filed 11/10/21 Page 30 of 63




           28.   40 C.F.R. §141.85(b)(3) requires contact with the local
                 health department at least every twelve (12) months as
                 long as the CWS exceeds the lead action level.

           29.   According to the System’s February 2021 and August
                 2021 public education certifications, the System did not
                 contact the local health department in the 12-month period
                 between August 2020 and August 2021.

           30.   Respondent’s failure to contact the local health
                 department in the 12-month period between August
                 2020 and August 2021 is a violation of 40 C.F.R.
                 §§141.85(b)(2)(ii)(A) and 141.85(b)(3).

           31.   Pursuant to 40 C.F.R. §141.85(b)(2)(ii)(B), a CWS that
                 exceeds the lead action level must contact customers
                 who are most at risk by delivering materials that meet
                 the content requirements of 40 C.F.R. §141.85(a) to the
                 following organizations within the water system’s
                 service area, along with an informational notice that
                 encourages distribution to all the organization’s
                 potentially affected customers or CWS’s users: public
                 and private schools or school boards, Women, Infants
                 and Children (WIC) and Head Start programs, public
                 and private hospitals and medical clinics,
                 pediatricians, family planning clinics, and local welfare
                 agencies.

           32.   40 C.F.R. §141.85(b)(3) requires contact with the
                 organizations identified in 40 C.F.R. §141.85(b)(2)(ii)(B)
                 at least every twelve (12) months as long as the CWS
                 exceeds the lead action level.

           33.   According to the System’s February and August 2021
                 public education certifications, the System did not contact
                 public and private hospitals, pediatricians, family planning
                 clinics, community centers, or adult foster care facilities in
                 the 12-month period between August 2020 and August
                 2021.


                                        30
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.31 Filed 11/10/21 Page 31 of 63




           34.   During the September 2021 Inspection, the inspectors
                 asked the System to produce a distribution list confirming
                 that    organizations   identified    in     40     C.F.R.
                 §141.85(b)(2)(ii)(B) within the System’s service area
                 were contacted and delivered materials.

           35.   During and after the September 2021 Inspection, the
                 System did not produce the requested distribution list.

           36.   Respondent’s failure to contact certain organizations
                 identified in 40 C.F.R. 40 C.F.R. §141.85(b)(2)(ii)(B) in
                 the 12-month period between August 2020 and August
                 2021 is a violation of 40 C.F.R. 40 C.F.R.
                 §§141.85(b)(2)(ii)(B) and 141.85(b)(3).

           37.   Pursuant to 40 C.F.R. §141.85(b)(2)(ii)(C), a CWS that
                 exceeds the lead action level must make a good faith effort
                 to locate the following organizations within the service
                 area and deliver materials that meet the content
                 requirements of 40 C.F.R. §141.85(a) to them, along with
                 an informational notice that encourages distribution to all
                 potentially affected customers or users: licensed childcare
                 centers, public and private preschools, and obstetricians-
                 gynecologists and midwives.

           38.   40 C.F.R. §141.85(b)(3) requires good faith effort to
                 locate such organizations identified in 40 C.F.R.
                 §141.85(b)(2)(ii)(C) at least every twelve (12) months as
                 long as the CWS exceeds the lead action level.

           39.   According to the System’s February and August 2021
                 public education certifications, the System did not
                 make a good faith effort to locate and contact
                 obstetricians-gynecologists in the 12-month period
                 between August 2020 and August 2021.

           40.   Respondent’s failure to make a good faith effort to
                 locate organizations identified in 40 C.F.R.
                 §141.85(b)(2)(ii)(C) in the 12-month period between


                                      31
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.32 Filed 11/10/21 Page 32 of 63




                             August 2020 and August 2021 is a violation of 40 C.F.R.
                             §§141.85(b)(2)(ii)(C ) and 141.85(b)(3).

                       41.   Pursuant to 40 C.F.R. §141.85(b)(2)(iii), a CWS that
                             exceeds the lead action level must provide, no less often
                             than quarterly, information on or in each water bill,
                             including verbatim text, notifying customers that the
                             system has found high levels of lead, as long as the
                             system exceeds the lead action level.

                       42.   40 C.F.R. §141.85(b)(3) requires provision of the
                             information required under 40 C.F.R. §141.85(b)(2)(iii) in
                             each billing cycle.

                       43.   According to the System’s February and August 2021
                             public education certifications, the System did not provide
                             information notifying customers that the System has found
                             high levels of lead in each water bill during the 12-month
                             period between August 2020 and August 2021.

                       44.   During the September 2021 Inspection, the System stated
                             to the inspectors that no public education materials are sent
                             with water bills delivered through the mail.

                       45.   Respondent’s failure to provide information notifying
                             customers that the System has found high levels of lead in
                             each water bill during the 12-month period between
                             August 2020 and August 2021 is a violation of 40 C.F.R.
                             §§141.85(b)(2)(iii) and 141.85(b)(3).10

            70.        Plaintiff Class Representatives and Class Members were never told by

any of the Defendants, including the state Defendants, that Defendant Benton

Harbor’s water had, and continues to have, high levels of lead and is unsafe for

ingestion. An alternative water supply was needed, yet never explored.


10
     Ibid., pp. 5-7.

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Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.33 Filed 11/10/21 Page 33 of 63




      71.      The Required Elements of Public Notice for Public Water Systems

under the EPA are specific. Notices must contain:

      There are 10 required elements in a public notice. Notices must
      contain:

            ▪ A description of the violation that occurred;
            ▪ The potential health effects (including standard required
              language);
            ▪ The population at risk, including subpopulations vulnerable if
              exposed to the contaminant in their drinking water;
            ▪ Whether alternate water supplies need to be used;
            ▪ What the water system is doing to correct the problem;
            ▪ Actions consumers can take;
            ▪ When the system expects a resolution to the problem;
            ▪ How to contact the water system for more information; and
            ▪ Language encouraging broader distribution of the notice.

      72.      For more than three (3) years Defendants, each and all of them were

aware of the progressively worsening lead in water emergency but failed in their

responsibilities, under CFR 40, §141.85 to notify and warn Benton Harbor residents,

including Plaintiff Class Representatives and Plaintiff Class Members herein, of the

escalating lead poisoning water crisis; further, each Defendant deliberately failed to

correct the silent, yet severely harmful water crisis affecting the residents of Benton

Harbor.

      73.      Not until October 14, 2021, less than one month ago, did State

Defendants and Governor Gretchen Whitmer issue an Executive Declaration and

begin to address the harm interfering with the bodily integrity of its citizens:



                                          33
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.34 Filed 11/10/21 Page 34 of 63




      “WHEREAS, on October 14, 2021, Michigan Governor Gretchen
      Whitmer issued Executive Directive No. 2021-6 (“Executive
      Directive”) that requires, among other actions, a whole-of-government
      response that directs Michigan departments and agencies to
      expeditiously take all appropriate action to ensure residents of Benton
      Harbor have immediate access to free bottled water for consumption
      through distribution sites and drop-off delivery until further notice.

      WHEREAS, the Executive Directive also requires, among other
      actions, that Michigan departments and agencies expeditiously take all
      appropriate action to leverage available state resources to support the
      City in replacing lead service lines.”

      74.    Plaintiffs will continue to be harmed as a result of Defendants’ actions

and omissions starting in January 2018, and continuing.

                             CLASS ALLEGATIONS
      75.    Plaintiffs bring this case as a proposed class action under Federal Rules

of Civil Procedure 23(a), 23(b)(2), and 23(b)(3).

      76.    This action is brought by the named Plaintiffs on behalf of individuals

who from, at least June to September 2018 to present, were exposed to toxic Benton

Harbor water, which contained high levels of lead, and have experienced an injury,

both physical and/or emotionally, to their person or property, whether as an owner

or renter. Future damages and harm are ongoing because the harm has not been

abated.

      77.    Benton Harbor is a city with approximately 10,000 residents. The

number of injured individuals who have been injured by exposure to lead in the

Benton Harbor water is in the thousands. The number of class members is

                                         34
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.35 Filed 11/10/21 Page 35 of 63




sufficiently numerous to make class action status the most practical method for

Plaintiffs to secure redress for injuries sustained and class wide equitable relief.

      78.    There are questions of law and fact raised by the named Plaintiffs’

claims common to, and typical of, those raised by the Class they seek to represent

against all the Defendants.

      79.    The violations of law and resulting harms stated by the named Plaintiffs

are typical of the legal violations and harms suffered by all Class members, including

but not limited to, non-economic injury and economic injury.

      80.    Plaintiff Class Representatives will fairly and adequately protect the

interests of the Plaintiff Class Members. Plaintiffs’ counsels are not aware of any

conflicts of interest between the class representatives and absent class members with

respect to the matters at issue in this litigation; the class representatives will

vigorously prosecute the suit on behalf of the Class; and the Class Representatives

are represented by counsel with experience in class actions and experience in cases

with environmental lead contamination. Plaintiffs are represented by attorneys with

substantial experience and expertise in complex and class action litigation involving

personal and property damage.

      81.    Plaintiffs’ attorneys have identified and thoroughly investigated all

claims in this action, and have committed sufficient resources to represent the Class.




                                           35
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.36 Filed 11/10/21 Page 36 of 63




      82.    The maintenance of the action as a class action will be superior to other

available methods of adjudication and will promote the convenient administration

of justice. Moreover, the prosecution of separate actions by individual members of

the Class could result in inconsistent, or varying adjudications, with respect to

individual members of the Class and/or one or more of the Defendants.

      83.    Defendants have acted or failed to act on grounds generally applicable

to all Plaintiffs, necessitating a remedy which is overarching in its scope for

declaratory, equitable and injunctive relief for the Class.

                          COUNT I
         CAUSE OF ACTION: VIOLATION OF 42 U.S.C. §1983
      SUBSTANTIVE DUE PROCESS – STATE CREATED DANGER
                      ALL DEFENDANTS

      84.    Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-83, as fully set forth herein.

      85.    The due process clause of the 14th Amendment provides that the state

may not deprive a person of life, liberty, or property, without due process of law.

      86.    These Defendants deliberately failed to notify and/or warn residents of

Benton Harbor, for over three (3) years, that their drinking, cooking, washing, and

bathing water was contaminated with lead. The Defendants, by deciding not to

require Benton Harbor’s public water system to comply with Federal and State

SDWA CRF 40 §141.35 on public notice and education, deliberately exposed

Plaintiffs and the Plaintiff Class to dangerous, unsafe lead levels. The Defendants
                                          36
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.37 Filed 11/10/21 Page 37 of 63




have not yet required a comprehensive corrosion study though such a study should

immediately be performed, whether it is an exceedance over 15 ppb on samples.

Knowing the high lead levels in the water would result in widespread permanent

serious damage in adults, and particularly, the irreversible lead poisoning of

children, which adversely affects their cognitive, physical and developmental status;

and other vulnerable persons, the Defendants acting with deliberate indifference

engaged in decision making that shocks the conscientious. This conduct was

culpable in the extreme.

      87.    Plaintiffs’ and Class Members’ injuries and damages were foreseeable

where state Defendants’ decision to not advise Plaintiff Class Representatives, and

Class Members, of the extremely high lead levels was sure to cause injury.

      88.    The decisions and actions to deprive Plaintiffs and the Plaintiff Class

of clean and safe water by not warning them that their water was poison, and instead,

secretly trying to solve the problem constituted affirmative acts that caused and/or

increased the risk of harm, both      to their property and damage, physical and

emotional injury to Plaintiffs Representatives and Plaintiff Class.

      89.    At all times herein Defendants acted under color of law.

      90.    The unconstitutional acts of State officials operating in their official

capacity executes a policy statement, or decision, officially adopted by the




                                         37
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.38 Filed 11/10/21 Page 38 of 63




Defendant City of Benton Harbor, and its agent contractor, Defendant Einhorn

Engineering and F&V contract Water Plant Manager.

      91.    As a direct and proximate result of the unconstitutional acts of

Defendants, as alleged in this complaint, Plaintiffs and Plaintiff Class members have

experienced serious, and in some cases, life threatening and irreversible bodily

injury. Plaintiff Class Representatives and Plaintiff Class members will incur

substantial economic losses in the nature of medical expenses, and/or lost wages;

Plaintiffs and Plaintiff Class members are entitled to an award of non-economic

damages in the nature of pain and suffering, embarrassment, outrage, mental

anguish, fear and mortification, and stress related physical symptoms, such as

sleepiness, hypertension, gastrointestinal discomfort, neuropathy, skin disease and

similar symptoms.

      92.    Plaintiff Class Representatives and Plaintiff Class members have

experienced property damage to the homes, places of worship, and business, in the

nature of lost property value and seek damages to remediate the permanent damage

caused by the failure to advise of the high lead levels in the water, and utilizing

multiple alleged anti-corrosive chemicals, which do not, to date, have an effective

solution to provide clean, safe water to the Benton Harbor residents.

      93.    The conduct of Defendants was reckless and outrageous, entitling

Plaintiffs and Plaintiff Class members to an award of punitive damages.


                                         38
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.39 Filed 11/10/21 Page 39 of 63




                             COUNT II
            CAUSE OF ACTION: VIOLATION OF 42 U.S.C. §1983
            SUBSTATIVE DUE PROCESS – BODILY INTEGRITY
                   PLAINTIFFS v ALL DEFENDANTS

      94.    Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-93, as fully set forth herein.

      95.    The due process clause of the 14th Amendment includes an implied right

to bodily integrity. Plaintiffs have a clearly established fundamental right under the

substantive due process clause of the Fourteenth Amendment to the US Constitution

to bodily integrity.

      96.    Defendants violated Plaintiff Class Representatives’ and Plaintiff Class

members’ right to bodily integrity, insofar as:

      a.     Defendants had a duty to protect Plaintiff Class Representatives and
             Plaintiff Class members from a foreseeable risk of harm from lead
             contaminated water and other anti-corrosive chemicals;

      b.     Defendants knew, and were aware, of the serious medical risks
             associated with exposure to contaminated water containing high levels
             of lead when ingested into the human body;

      c.     Defendants failed to protect Plaintiff Class Representatives and
             Plaintiff Class members from the known risks associated with exposure
             to contaminated water;

      d.     Defendants were aware that their conduct could result in the deprivation
             of Plaintiffs’ fundamental due process rights to bodily integrity; and

      e.     Plaintiff Class Representatives and Plaintiff Class members suffered
             bodily harm as a result of their exposure to lead contaminated water;
             and lead entering their bodies.


                                          39
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.40 Filed 11/10/21 Page 40 of 63




      97.    Defendants’ conduct in exposing Benton Harbor residents to toxic

water, containing lead, was so egregious and so outrageous, that it shocks the

conscience. Defendants, for more than three (3) years of deliberation, and decision

making, and consciously made the repeated decision not go give Defendant Benton

Harbor’s water system a violation for not complying with the SDWA CRF 40

§141.35; failed to warn the residents of the toxic lead in their water and their

decision, not to provide the warning, was made with deliberate indifference to the

serious medical risks.

      98.    As a direct and proximate result of the unconstitutional acts of

Defendants, as stated in this Complaint, Plaintiff Class Representatives and Plaintiff

Class members have experienced serious, and in some cases, life threatening and

irreversible bodily injury; Plaintiff Class Representatives and Plaintiff Class

members have, and will incur, substantial economic losses in the nature of medical

expenses and/or lost wages and payment for water which is not useable; Plaintiff

Class Representatives and Plaintiff Class members are entitled to an award of non-

economic damages in the nature of pain and suffering, embarrassment, outrage,

mental anguish, fear and mortification, and stress related physical symptoms such as

sleepiness, gastrointestinal discomfort, neuropathy and similar symptoms.

      99.    The custom and practice of the decision not to enforce the SDWA from

2018, specifically §141.35 public notice, state Defendants were deliberately


                                         40
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.41 Filed 11/10/21 Page 41 of 63




indifferent, entitling Plaintiff Class Representatives and Plaintiff Class members to

an award of punitive damages.

                        COUNT III
        VIOLATION OF THE LEAD AND COPPER RULE OF
   THE SAFE DRINKING WATER ACT; VIOLATION OF STATE OF
    MICHIGAN’S SAFE DRINKING WATER ACT 1976 PA 399, AS
  AMENDED AND ADMINISTRATIVE RULES OF MICHIGAN’S SAFE
      DRINKING WATER ACT, MI. ADM. COLDE R. 325.11 606

      100. Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-99, as fully set forth herein/

      101. The Defendants, as stated in the EPA Unilateral Order, have violated

Section 1414(g) of the Safe Drinking Water Act, 42 U.S.C. §300g-3(g); including

but not limited to:

             a)       Exceeding the Action Level Exceedances for tap water samples
                      for January 2016 to present, 40 CFR §141.86;

             b)       Failing to comply with public education requirements, §141.85
                      (Ibid, p. 5);

             c)       Failing to contact the “local health department and deliver
                      educational materials that meet the content requirements of 40
                      CFR §141.85(a);

             d)       Failing to contact the local health department at least every 12
                      months; §141.85(b)(3) (Ibid, p. 5);

             e)       Failing, under §141.85(b)(2)(ii)(B) to contact customers who are
                      most at risk by delivering materials that meet the content
                      requirements of 40 CFR §141.85(a) when the action level area,
                      including “public and private schools, or school boards, Women,
                      Infant and Children (WIC) and Head Start programs, public and
                      private hospitals and medical clinics, pediatricians, family
                                           41
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.42 Filed 11/10/21 Page 42 of 63




                 planning clinics and local welfare agencies. The contact is
                 required every twelve (12) months. (Ibid, pp. 5-6.);

           f)    Failure to make a good faith effort to deliver materials that meet
                 content requirements of 40 CFR §141.85(a) to licensed childcare
                 centers, public and private preschools and obstetricians,
                 gynecologists and midwives at least every twelve (12) month
                 period. (Ibid, p. 6.);

           g)    Failed to notify “no less than quarterly” information and/or in
                 each water bill, including verbatim text, notifying customers that
                 the system has found high levels of lead. (Ibid, p. 6);

           h)    Failure to calibrate the turbidimeters consistent with the
                 manufacturer’s recommendation is a failure to accurately
                 measure turbidity, 40 CFR §141.74(c)(1) (Ibid, p. 8);

           i)    Failure to calibrate the chlorine analyzers every five (5) days
                 with grab sample when in operation is a violation of 40 CFR
                 §141.74(a)(2) (Ibid 8);

           j)    Failure to repair the continuous chlorine analyzer monitoring the
                 residual disinfectant concentration of the water entering the
                 distribution system no more than five (5) working days following
                 the failure of the equipment 40 CFR §141.74(c)(2) (Ibid, p. 9.);

           k)    Failure to maintain continuous monitoring of the residual
                 disinfectant concentration 40 CFR §141.74(c)(2) (Ibid, p. 9.);

           l)    Failure to maintain alarms and/or alerts through the Supervisory
                 Control and Data Acquisition (SCADA) system is a violation of
                 40 CFR §141.74(e) (Ibid, pp. 9-10.);

           m)    Failure to calculate CT, failure to maintain a properly functioning
                 flow meter, failure to maintain working continuous chlorine
                 analyzer; all of which is needed to calculate disinfection profiles
                 pursuant to the NPDWRS, 40 CFR §141.533 (Ibid, p. 11.);

           n)    Failure to develop disinfection profiles and disinfection
                 benchmarks prior to making changes to the point of disinfecting,
                                       42
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.43 Filed 11/10/21 Page 43 of 63




                  in 2017, pursuant to the NPDWRs, is a violation of 40 CFR
                  §141.540 (Ibid, p. 11.);

            o)    Failure to perform OEL calculations pursuant to the NPDWRs is
                  a violation of 40 CFR §141.626 (Ibid, p. 12);

            p)    Failure during the September 2021 Inspection by the EPA to
                  demonstrate that it performs OEL calculations (Ibid, p. 13).

      102. On October 23, 2018, the America’s Water Infrastructure Act

(“AWIA”) of 2018 (Public Law 115-270) amended the SDWA.

      103. Section 1433(a)(1) of the SDWA, 42 U.S.C. §300i-2(a)(1), requires

each CWS serving a population of greater than 3,300 persons to conduct a Risk and

Resilience Assessment (RRA) of its system.

      104. Defendants violated the AWI Act which amends the SDWA by:

            a)    Section 1433(d) of the SDWA, 42 U.S.C. §300i-2(d), requires
                  that each CWS shall maintain a copy of the RRA and the ERP
                  (including any revised RRA or ERP) for five (5) years after the
                  date on which a certification of such assessment or plan is
                  submitted;

            b)    According to EPA’s AWIA database, the System certified on
                  June 29, 20219 that it had completed both an RRA and an ERP;

            c)    During the September 2021 Inspection, the System stated that it
                  could not produce the ERP because it had not yet prepared the
                  ERP;

            d)    Respondent’s failure to retain a copy of the ERP pursuant to
                  Section 1433(b) of the SDWA, 42 U.S.C. §300i-2(b), is a
                  violation of Section 1433(d) of the SDWA, 42 U.S.C. §300i-
                  2(d).



                                       43
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.44 Filed 11/10/21 Page 44 of 63




      105. Defendants failed to, and continue to violate, the “Record

Maintenance” requirements of 40 CFR §141.33 in the following ways, including but

not limited to:

              a)    Failure to retain records of microbiological, turbidity, and
                    chemical analyses made pursuant to the NPDWRs is a violation
                    of 40 C.F.R. §141.33(a) (Ibid, p. 15);

              b)    Failure to retain complete records of Total Organic Carbon
                    precursor monitoring and DBP distribution system sampling
                    made pursuant to the NPDWRs is a violation of 40 C.F.R.
                    §141.33(a);

              c)    Failure to retain complete lead and copper public education
                    materials required by 40 C.F.R. §141.85 is a violation of 40
                    C.F.R. §141.91 (Ibid, p. 14.)

      106. Violations of Michigan’s SDWA and Administrative Rules by

Defendant Benton Harbor, from 2018 to present, have not been promptly remedied,

as shown in the Emergency Petition 45.

      107. Violations in 2019, in addition to the lead exceedances, show

Defendant DEQ and the EGLE knew that Defendant’s Water Department was in

comprehensive violation of both Federal and State Safe Drinking Water rules as

follows:

           ▪ Failed to conduct Water Quality Parameter sampling for the
             period of January 1, 2019 to June 30, 2019. Water Quality
             Parameters include chloride, sulfate, conductivity, pH, alkalinity,
             temperature, and calcium.
           ▪ Failed to conduct all required lead and copper monitoring for the
             periods of January 1, 2019 to June 30, 2019, and July 1, 2019 to
             December 31, 2019.
                                          44
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.45 Filed 11/10/21 Page 45 of 63




               ▪ Failed to conduct required monitoring for Synthetic Organic
                 Contaminants (SOCs) during the monitoring period of April 1,
                 2019 to June 30, 2019.
               ▪ Received a reporting violation for submitting a Consumer Notice
                 of Lead and Copper to EGLE past the deadline in September
                 201911.

           108. In 2019, State Defendant decided it would not require City Defendants

to comply with the SDWA 40 USF §141.35.

           109. On March 8, 2019, Defendants EGLE and Benton Harbor executed an

Administrative Consent Order that required Benton Harbor to either submit a

proposal for optimal corrosion control treatment, or a corrosion control study, no

later than May 1, 2019.

           110. On August 7, 2020, Defendants Benton Harbor and EGLE amended its

Administrative Order.

           111. In neither of Defendant EGLE’s Consent Orders did it require City

Defendants to give notice to the residents of Benton Harbor, including specific

agencies, schools, and at risk sub-communities, pursuant to SDWA CRF 40 §141.35.

           112. In addition to its public notice failures under SDWA CRF 40 §141.35,

the Defendants have failed to timely perform a corrosion control study and budget

inadequate funds. Nor have the Defendants, to this date, completed a fully compliant

control corrosion control study under either the state or federal SDWA.



11
     Defendant Benton Harbor website, Consumer Confidence Report for 2019.

                                                       45
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.46 Filed 11/10/21 Page 46 of 63




      113. Nor had State Defendants required the City Defendants to replace lead

service lines at a 7% annual rate. 40 CFR 142.84(b)(2020). (Ibid., Petition, pp. 20-

21; Ibid., p22.)

      114. In 2020, violations were again issued under the Michigan Safe Drinking

Water Act, 1976 PA 399 as amended and the Administrative Rules. Defendant’s

website showed 2020 violations under state law as follows:

          • “Monitoring Requirements Not Met for the City of Benton
            Harbor

             We are required to monitor your drinking water for specific
             contaminants on a regular basis. Results of regular monitoring
             are an indicator of whether or not our drinking water meets
             health standards. We routinely monitor your water for turbidity
             (cloudiness) and chlorine disinfectant residuals at many
             locations. This tells us whether we are effectively filtering and
             disinfecting the water supply. We had an equipment failure that
             did not properly record the 15-minute individual filter turbidity
             results and maintain the records for three years as required by
             law. We observe the turbidities every hour and did not observe
             any water quality issues.

             We also had a failure of the chlorine monitoring equipment,
             which continuously provides the chlorine levels entering the
             system. Low chlorine levels, if measured, become a concern over
             lack of disinfection. We also measure chlorine residual manually
             and did not find any low levels of chlorine to raise concerns over
             disinfection levels. However, the manual measurements are not
             collected continuously.”

          • “Monitoring Requirements Not Met for the City of Benton
            Harbor

             We are required to monitor your drinking water for specific
             contaminants on a regular basis. Results of regular monitoring
                                         46
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.47 Filed 11/10/21 Page 47 of 63




             are an indicator of whether or not our drinking water meets health
             standards. During the first 3 quarters of 2020, we did not monitor
             or test for Synthetic Organic Compounds (SOC) from the correct
             location and therefore cannot be sure of the quality of our
             drinking water during that time. However, this violation does
             not pose a threat to your supply’s water.”

          • “Monitoring Requirements Not Met for the City of Benton
            Harbor

             We are required to monitor your drinking water for specific
             contaminants on a regular basis. Results of regular monitoring
             are an indicator of whether or not our drinking water meets health
             standards. During the six-month period of August 3, 2020
             through February 3, 2021 we did not monitor or test for PFAS
             (Per-and polyfluoroalkyl substances) and therefore cannot be
             sure of the quality of our drinking water during that time.
             However, this violation does not pose a threat to your supply’s
             water.”

                            COUNT IV
               UNJUST ENRICHMENT – ALL DEFENDANTS

      115. Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-114, as fully set forth herein.

      116. Defendants failed to incur expenditures to limit, or prevent, the release

of toxic water, containing high levels of lead, through Defendant Benton Harbor’s

water lines and prevent the contamination to Plaintiff and Class Members’ properties

and household water supplies; failed to incur the costs to timely investigate the

impacts on Plaintiff and Class Members, and their properties; failed to incur the costs

to timely mitigate the impacts on Plaintiff and Class Members and their properties;

and failed to incur costs to remediate the pipes, ground, and other damage, done to
                                          47
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.48 Filed 11/10/21 Page 48 of 63




their property. Defendants have been unjustly enriched by these and other failures

to make expenditures to prevent the persons and properties of the Plaintiff and Class

Members’ from being harmed by the purchase of lead in its water.

      117. Defendants’ failure to incur necessary expenditures ,to correct the high

lead levels, was at the cost of the Plaintiff Class Representatives and Class Members’

property and wellbeing.

      118. The cost savings to Defendants, including savings from failing to

replace, and/or install an efficient and adequate proper anti-corrosive solution to the

lead in the water, is a measurable monetary amount.

      119. Defendants have received Defendant Benton Harbor’s pipes

measurable monetary benefit by failing to make the necessary expenditures. It would

be unconscionable and contrary to equity for Defendants to retain that benefit. The

Court, therefore, should award as a remedy, an amount equivalent to the

expenditures saved and the profits obtained by City of Benton Harbor Defendants,

at the expense of Plaintiff Class Representatives and Class Members. Accordingly,

City Defendants are liable for the compensatory and punitive damages to Plaintiff

Class Representatives and Class Members.

      120. As a direct result of City Defendants’ failures, Plaintiffs have paid, and

continue to pay, for water which they cannot use.




                                          48
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.49 Filed 11/10/21 Page 49 of 63




                               COUNT V
                       BATTERY – ALL DEFENDANTS

      121. Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-120, as fully set forth herein.

      122. Defendants’ release of toxic water, with high levels of lead into the

homes of Plaintiff Class Representatives and Class Members, caused exposure and

therefore harmful and offensive contact with Plaintiff Class Representatives and

Class Members.

      123. Defendants knew, or should have known, that their failure to warn and

continue pumping of water into Plaintiff Class Representatives’ and Class Members’

homes, was substantially certain to cause bodily contact, injury, damage, or harmful

and offensive contact with Plaintiffs.

      124. Defendants lacked any privilege or consent to cause harmful and

offensive contact with Plaintiff by their providing Plaintiffs with harmful, unsafe

and poisoned water with high levels of lead.

      125. Defendants’ conduct, causing harmful and offensive contact, was

intentional, or at least grossly or culpably negligent conduct, or wanton and reckless

conduct.

      126. Defendants’ actions constituted constructive intent to injure; their intent

to injure may be inferred from their conduct, which threatened the safety of others,



                                          49
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.50 Filed 11/10/21 Page 50 of 63




and was so reckless or manifestly indifferent to the consequences of the harmful and

offensive contact.

      127. Defendants’ unauthorized contact has actually offended a reasonable

sense of personal dignity of the Plaintiff Class Representatives and Class Members.

      128. Defendants’ continuous supplying of the water to Benton Harbor

residents, including Plaintiff Class Representatives and the Class Members, have

resulted in an unauthorized contact with Plaintiff Class Representatives and Class

Members.

      129. As a direct and proximate result of Defendants’ battery, Plaintiff Class

Representatives and Class Members have suffered damages, including those

damages of a physical, psychological and economic nature. Defendants are liable for

the compensatory and punitive damages to Plaintiff Class Representatives and Class

Members.

      130. Accordingly, Defendants are liable for the compensatory and punitive

damages to Plaintiff Class Representatives and Class Members.

                        COUNT VI
    NEGLIGENCE - DEFENDANTS AND EINHORN ENGINEERING
    AND F&V OPERATIONS AND RESOURCE MANAEMENT, INC.,
                     AND ITS AGENTS

      131. Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-130, as fully set forth herein.



                                          50
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.51 Filed 11/10/21 Page 51 of 63




      132. Defendants Einhorn Engineering Company, and F&V Operations, as an

agents for the City of Benton Harbor, owed Plaintiff Class Representatives and Class

Members, a duty of reasonable care in performing their activities and operations of

the Defendant’s Benton Harbor’s Water Department, and in minimizing, mitigating,

and remediating the impacts of their activities and operations. Defendants failed to

exercise the degree of care which a reasonable and prudent person would use under

similar circumstances to protect the Plaintiff Class Representatives and Class

Members from damage. That duty included fully understanding the toxicity of the

anti-corrosive chemicals used to abate and sequester the high levels of lead in the

water service lines and eliminating releases of toxic chemicals, identifying

alternatives to toxic chemicals released while attempting to abate the lead, or

understanding the mechanisms of release and transport of toxic chemicals through

the water, without investigating, mitigating and remediating the impacts of the

chemicals released by Defendants.

      133. Defendants had a duty, in particular, to: (1) identify the potentially

harmful anti-corrosive chemicals used by their operations to attempt to abate the lead

in the Plaintiff Class Representatives’ and Class Members’ water; (2) investigate and

understand the characteristics of the chemical byproducts of their operations before

releasing those byproducts into the water; (3) conduct their operations in a manner

that would not unreasonably endanger human health and the environment; (4)


                                         51
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.52 Filed 11/10/21 Page 52 of 63




control, minimize, and eliminate releases of the anti-corrosive chemical materials so

as to further create a risk of harm to the Plaintiff Class Representatives and Class

Members; (5) investigate and remediate environmental releases that they knew

posed a potential risk to human health and the environment; and (6) warns Plaintiff

Class Representatives and Class Members of the use of the anti-corrosive chemicals

that created a probable risk to human health and contamination of Plaintiff Class

Representatives’ and Class Members’ property including, but not limited to, Plaintiff

Class Representatives’ and Class Members’ water, groundwater, and/or water

systems, due to the persistence and toxicity of these substances; in addition to the

high lead levels in the water.

      134. Defendant F&V, by contract in 2020, managed Defendant Benton

Harbor’s Water Plant through its employees and agents.

      135. The EPA’s Unilateral Report shows F&V employees were not

competent to manage the Public Water System and, upon inspection by the EPA,

were unable to respond to basic questions of procedure and substance.

      136. Defendants failed to exercise ordinary and reasonable care in the use of

substances including, but not limited to anti-corrosive chemicals, which did not

correct the problem of excessive lead in the water, but instead made it worse.




                                         52
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.53 Filed 11/10/21 Page 53 of 63




      137. Defendant Einhorn, nor Defendant F&V, did not provide the Plaintiff

Class Representatives and Class Members with a warning that the water was unsafe

to ingest.

      138. Defendants negligently breached their duty of care to Plaintiff Class

Representatives and Class Members, as identified above, including by releasing and

allowing the release of known toxic chemicals into Defendant Benton Harbor’s anti-

corrosive service lines, resulting in an increase of lead in the water supply, which

continues to this day.

      139. Defendants negligently breached their duty and by negatively failing to

warn the Plaintiff Class Representatives and Class Members of the use of anti-

corrosive chemicals, and that lead levels in the water were too high to be used safely.

      140. Defendants’ negligence has caused contamination of Plaintiff Class

Representatives’ and Class Members’ properties and caused exposure of Plaintiff

Class Representatives’ and Class Members’ to continue through its water lines of

lead particles, material and anti-corrosive chemicals.

      141. Defendants’ failure to exercise ordinary and reasonable care has

directly and proximately caused the lead service lines to become increasingly

unusable to deliver safe water to the Plaintiff Class Representatives and Class

Members.




                                          53
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.54 Filed 11/10/21 Page 54 of 63




      142. Defendants’ failure to exercise ordinary and reasonable care has

directly and proximately caused Plaintiff Class Representatives and Class Members

to suffer injury, damage, and harm to their property as set forth above, and

continuing.

      143. Plaintiff Class Representatives and Class Members require medical

monitoring for their lifetime.

      144. The harm to Plaintiff Class Representatives and Class Members was

reasonably foreseeable.

      145. As a direct and proximate result of Defendants’ negligence, Plaintiff

Class Representatives and Class Members have suffered damages and losses,

including but not limited to, economic and non-economic damages stated above.

Accordingly, Defendants are liable for compensatory and punitive damages to the

Plaintiff Class Representatives and Class Members.

                              COUNT VII
                             NEGLIGENCE
                  FAILURE TO WARN - ALL DEFENDANTS

      146. Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-138, as fully set forth herein.

      147. Defendants had a duty to exercise reasonable care with respect to their

operation of Defendant Benton Harbor’s water system.




                                          54
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.55 Filed 11/10/21 Page 55 of 63




      148. Defendants failed to correct the condition and continued to allow water,

with excessive lead, in violation of the state and national Lead and Copper rule, to

be released into the Benton Harbor water service lines, with knowledge of the

likelihood that household water supplies of the Plaintiff Class Representatives and

Class Members could be affected.

      149. Despite knowing the risk of harm to Plaintiff Class Representatives and

Class Members, Defendants failed to warn the Plaintiff Class Representatives and

Class Members of the likelihood that the water contained high levels of lead and

should not be ingested.

      150. Defendants breached their duty to exercise reasonable care and to warn

the Plaintiff Class Representatives and Class Members of the release of water with

excessive levels of lead into the water service lines used by them.

      151. The harm to the Plaintiff Class Representatives and Class Members was

reasonably foreseeable.

      152. As a direct and proximate result of Defendants’ negligent failure to

warn, Plaintiff Class Representatives and Class Members have suffered damages,

including those damages identified as economic and non-economic damages stated

above. Accordingly, Defendants are liable for the compensatory and punitive

damages to Plaintiff.




                                         55
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.56 Filed 11/10/21 Page 56 of 63




                            COUNT VIII
           TRESPASS TO REAL PROPERTY – ALL DEFENDANTS

      153. Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-152, as fully set forth herein.

      154. As a result of the intentional conduct and activities of the Defendants,

the releases of water, with high levels of lead in Defendant Benton Harbor’s service

line, in violation of the state and national Lead and Copper rule, Defendants have

physically intruded onto and wrongfully entered, Plaintiff Class Representatives’

and Class Members’ properties and continue to so intrude, when Plaintiff Class

Representatives’ and Class Members’ possessory interest in their properties without

Plaintiff Class Representatives’ and Class Members’ permission, whether express or

implied.

      155. The physical intrusion of the water with high lead content released by

Defendants onto and into the properties of Plaintiff Class Representatives and Class

Members, has physically injured and damaged their properties and continues to do

so, including by contaminating and physically altering the soil, fixtures, structures,

household water and other physical aspects of Plaintiff Class Representatives’ and

Class Members’ properties. Plaintiff Class Representatives’ and Class Members’ air,

household water, and the water systems on Plaintiff Class Representatives’ and Class

Members’ property, have been damaged by the Defendants’ release, through

Defendant Benton Harbor’s lead lines high levels of toxic water with lead, and after
                                          56
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.57 Filed 11/10/21 Page 57 of 63




January 2018, high levels of anti-corrosive chemicals, and will continue to be

damaged.

      156. The Plaintiff Class Representatives’ and Class Members’ property was

damaged by the lead and other chemicals released by Defendants that would not

have been present but for the actions by Defendants, whose actions caused exposure

of Plaintiff Class Representatives and Class Members and their properties to toxic

water. The intentional release of water with toxic compounds, including lead and

other anti-corrosives, constitutes the intent to commit the equivalent of an entry.

      157. Defendants’ operation, and the state Defendants’ supervision and

instruction to Defendant Benton Harbor, and its residents, and their discharges,

emissions, and releases of PFAS, have resulted in an unauthorized interference with

Plaintiff Class Representatives’ and Class Members’ possession and use of their

property as well, including but not limited to Plaintiff Class Representatives’ and

Class Members’ appliances, (including washing machines), water heaters, and

filtration system.

      158. As a direct and proximate result of Defendants’ trespass by the physical

intrusion of toxic releases from the acts and omissions of Defendants onto the

properties owned and/or occupied by Plaintiff Class Representatives and Class

Members, they have suffered damages and losses , both economic and non-economic




                                          57
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.58 Filed 11/10/21 Page 58 of 63




damages stated above. The harms to Plaintiff Class Representatives and Class

Members was reasonably foreseeable.

      159. Accordingly, Defendants are liable for compensatory and punitive

damages to Plaintiff Class Representatives and Class Members.

                                  COUNT IX
                              PRIVATE NUISANCE
                               ALL DEFENDANTS

      160. Plaintiff Class Representatives and Class Members incorporate

paragraphs 1-151, as fully set forth herein.

      161. The releases of chemicals resulting from Defendants’ supervision,

instruction and oversight of Defendant Benton Harbor’s Water Department, have

caused and continue to cause a substantial and significant interference with the

Plaintiff Class Representatives’ and Class Members’ health, properties and their

present and future need to incur the cost of diagnostic testing to monitor, each

Plaintiff Class Representative and Class Member, for the early detection of illness,

disease, and discase process which can be caused by Defendants’ actions.

      162. The releases of chemicals resulting from Defendants’ operation caused,

and continue to cause, such substantial interference with Plaintiff Class

Representatives’ and Class Members’ property as to be considered unreasonable.

The Defendants’ actions were unreasonable to a person of ordinary prudence and

discretion. Releasing through Benton Harbor’s service water lines, containing high


                                          58
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.59 Filed 11/10/21 Page 59 of 63




levels of lead and anti-corrosive toxic chemicals is unreasonable because such

activity severely limits the Plaintiff Class Representatives’ and Class Members’ use

and enjoyment of their property in manners suitable to the location.

      163. The Defendants’ conduct has caused Plaintiff Class Representatives’

and Class Members’ significant annoyance, including disruption of water supplies,

increased angst and anxiety, and inconvenience of requiring the installation of home

filtration systems.

      164. The Defendants’ release of lead and toxic chemicals from Benton

Harbor holds little social value or utility to this community.

      165. As a direct and proximate result of Defendants’ creation of a nuisance,

Plaintiff Class Representatives and Class Members, as owners or occupants of

residential real property, have suffered special injury and special damages and losses

and non-economic and economic damages stated above, as well as the present harm

of the need to incur the cost of diagnostic testing for the early detection of illness,

disease, or disease process caused by Defendants’ substantial and significant

interference with their properties.       Accordingly, Defendants are liable for

compensatory and punitive damages to Plaintiff and Class Members.

                              RELIEF REQUESTED

      Accordingly, Plaintiff Class Representatives and Plaintiff Class members

request the following relief from the court:


                                          59
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.60 Filed 11/10/21 Page 60 of 63




           a.    An Order certifying this case as a class action;

           b.    An Order declaring the conduct of Defendants unconstitutional;

           c.    An Order of equitable relief to remediate the harm caused by

                 (a)   repairs and compensation of property damage;
                 (b)   an immediate abatement of the lead service with
                       replacement lines;
                 (c)   a water supply delivered to each home of adequate water
                       until new service lines are replaced;
                 (d)   establishment of a medical monitoring process, including
                       funds and testing;
                 (e)   appointing a monitor to oversee the water operations of
                       Benton Harbor for all human purposes, for a period of time
                       deemed appropriate by the court;
                 (f)   A Community Center and coordinator for children and
                       adults with learning impairments, and/or other needs,
                       which require expertise;
                 (g)   ongoing water lead testing for each home; and
                 (f)   testing blood lead levels for all in the City of Benton
                       Harbor.

           d.    An Order for an award of compensatory damages, economic and
                 non-economic;

           e.    An Order for an award of punitive damages;

           f.    An Order for an award of actual reasonable attorney fees and
                 litigation expenses;

           g.    An Order for all such other relief as the court deems equitable.

                                    Respectfully submitted,
                                    EDWARDS & JENNINGS, P.C.


                                     By:    /s/ Alice B. Jennings


                                       60
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.61 Filed 11/10/21 Page 61 of 63




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Dated: November 10, 2021




                                     61
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.62 Filed 11/10/21 Page 62 of 63




                 UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

DORETHA BRAZIEL, individually and as
Next Friend for minors, RONESHA
BRAZIEL-minor 1, DEANA BRAZIEL-
minor 2, et. al.,

                 Plaintiffs,
v.                                                      Case No.:

GOVERNOR GRETCHEN WHITMER,                              Hon.
Individually and in her official capacity;
STATE OF MICHIGAN - ENVIRONMENT,
GREAT LAKES & ENERGY; et. al.

                      Defendants.
_______________________________________________________________/
 Alice B. Jennings (P29064)        Kevin S. Hannon
 Carl R. Edwards (P24952)          Attorney for Plaintiffs
 EDWARDS & JENNINGS, P.C.          MORGAN and MORGAN
 Attorneys for Plaintiffs          khannon@hannonlaw.com
 ajennings@edwardjennings.com
 cedwards@edwardsjennings.com
________________________________________________________________/

                       DEMAND FOR TRIAL BY JURY

     Plaintiffs demand a trial by jury as to all those issues triable as of right.

                                               Respectfully submitted,

                                               EDWARDS & JENNINGS, P.C.

                                               /s/ Alice B. Jennings
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                                          62
Case 1:21-cv-00960-JTN-PJG ECF No. 1, PageID.63 Filed 11/10/21 Page 63 of 63




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Dated: November 10, 2021




                                     63
